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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

 UNITED STATES OF AMERICA                                                              PLAINTIFF

 v.                                                  CRIMINAL ACTION NO. 3:18CR-46-CHB

 JAVIER H. RODIGUEZ, ET AL.                                                        DEFENDANTS

                          UNITED STATES OF AMERICA’S
                   NOTICE OF CAPITAL CRIMES REVIEW STATUS
                 AND DIRECTIVE NOT TO SEEK THE DEATH PENALTY
                                (Filed Electronically)

        COMES NOW the United States of America, by counsel, and respectfully informs this

 Court that, on or about May 7, 2019, the Attorney General, William P. Barr, has authorized and

 directed that the death penalty not be sought against Javier H. Rodriguez, Dwayne C. Castle, and

 Charles O. Cater.

                                                      Respectfully submitted,

                                                      RUSSELL M. COLEMAN
                                                      United States Attorney

                                                      s/ Mac Shannon
                                                      Assistant United States Attorney
                                                      717 West Broadway
                                                      Louisville, Kentucky 40202
                                                      (502) 582-6294
                                                      Fax: (502) 582-5067


                                   CERTIFICATE OF SERVICE
         I certify that on May 13, 2019, the foregoing Notice was filed electronically with the clerk
 of the court by using the CM/ECF system, which will send a notice of electronic filing to counsel
 of record.

                                                      s/ Mac Shannon
                                                      Assistant United States Attorney
                                                      Western District of Kentucky
